Defendant was prosecuted under an affidavit charging him with operating a lottery in the City of Shreveport. He was tried and found guilty as charged and sentenced to pay a fine or to be imprisoned in default of the payment thereof. This appeal is from the conviction and sentence.
Defendant has not supported his appeal by argument or by brief. The record contains only a motion and order of appeal based solely on the ground that appellant's conviction was contrary to the law and the evidence. There is no motion to quash, no motion in arrest, no motion for a new trial, no bill of exception, and no assignment of errors. In these circumstances and there being no error patent on the face of the record, this Court must affirm the judgment. State v. Deleo, 156 La. 672, 101 So. 17; City of Shreveport v. Jones, 172 La. 833, 135 So. 373.
For the reasons assigned, the conviction and sentence appealed from are affirmed.